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ae.o7i) AMENDED VIOLATION REPORT - Used robatin Ofer 10/28/2019
PART 1: PETITION FOR WARRANT
NAME PACTS JUDGE DOCKET #
SMITH, Donald O. 36263 David M. Lawson 17-CR-20103-01
ORIGINAL SUPERVISION TYPE CRIMINAL HISTORY TOTAL OFFENSE PHOTO
SENTENCE DATE . CATEGORY LEVEL
10/01/2013 me VI 17
elease
COMMENCED
12/07/2016
EXPIRATION
12/06/2018
ASST. U.S. ATTORNEY DEFENSE ATTORNEY
Christopher Graveline To Be Determined
REPORT PURPOSE
AMENDED VIOLATIONS TO PETITION FILED ON
JANUARY 30, 2018.
PLEASE NOTE THAT THE AMENDED INFORMATION
IS UNDERLINED.
ORIGINAL OFFENSE
Count 1: 18:U.S.C. § 922(g)(1), Felon in Possession of Firearm

 

 

SENTENCE DISPOSITION

Custody of the Bureau of Prisons for a term of 51 months, to be followed by a two-year term of supervised

release.

Name of Sentencing Judicial Officer: Honorable Theresa L. Springmann, Northern District of Indiana. Jurisdiction
accepted by the Honorable David M. Lawson on February 21, 2017.

 

 

ORIGINAL SPECIAL CONDITION

1)

The defendant shall participate in a substance abuse treatment program and shall abide by all program
requirements and restrictions, which may include testing for the detection of alcohol or drugs of abuse
at the direction and discretion of the probation officer. While under supervision, the defendant shall not
consume alcoholic beverages or any mood altering substances, which overrides the “no excessive use of
alcohol” language in Standard Condition #7. The defendant shall not be allowed to work at a tavern or
to patronize taverns or any establishments where alcohol is the principal item of sale. The defendant
shall pay all or part of the costs for participation in the program not to exceed the sliding fee scale as
established by the Department of Health and Human Services and adopted by this Court.

Criminal Monetary Penalty: Special Assessment $100.00 (paid).

 

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PART 1: PETITION FOR WARRANT OO

NAME PACTS JUDGE DOCKET #

SMITH, Donald O. 36263 David M. Lawson 17-CR-20103-01

 

 

 

 

The probation officer believes that the offender has violated the following conditions of the term of supervised
release:

 

VIOLATION NUMBER

 

NATURE OF NONCOMPLIANCE

 

 

1

Violation of Mandatory Condition: “THE DEFENDANT SHALL NOT UNLAWFULLY
POSSESS A CONTROLLED SUBSTANCE. THE DEFENDANT SHALL REFRAIN FROM
ANY UNLAWFUL USE OF A CONTROLLED SUBSTANCE.”

On the following dates, the offender submitted urine specimens that were retuned positive for
the presence of marijuana from Alere Laboratories: October 31, 2017; November 16, 2017;
November 27, 2017.

On November 29, 2017, SMITH admitted to the probation officer that he has been using
marijuana on a weekly basis.

Violation of Standard Condition No. 2: “THE DEFENDANT SHALL REPORT TO THE
PROBATION OFFICER AS DIRECTED BY THE COURT OR PROBATION OFFICER
AND SHALL SUBMIT A TRUTHFUL AND COMPLETE WRITTEN REPORT WITHIN
THE FIRST FIVE (5) DAYS OF EACH MONTH.”

On December 11, 2017, SMITH sent the probation officer an email requesting to return to prison
to “finish my sentence.” On December 12, 2017, the probation officer called the offender and
left a voice mail requesting a return phone call to discuss the situation and to assist him in
dealing with life events in a pro-social manner. SMITH failed to call the probation officer.

On January 8, 2018, the probation officer called SMITH and left a voice mail instructing him
to contact the probation officer within 24 hours and speak with her directly. SMITH failed to
contact the probation officer.

On January 12, 2018, the probation officer conducted a home visit and after repeated knocking,
no one answered. The probation officer left her business card instructing SMITH to contact
her. SMITH has failed to do so.

His whereabouts are unknown.

Violation of Special Condition: “THE DEFENDANT SHALL PARTICIPATE IN A
SUBSTANCE ABUSE TREATMENT PROGRAM AND SHALL ABIDE BY ALL
PROGRAM REQUIREMENTS AND RESTRICTIONS, WHICH MAY INCLUDE TESTING
FOR THE DETECTION OF ALCOHOL OR DRUGS OF ABUSE AT THE DIRECTION
AND DISCRETION OF THE PROBATION OFFICER. WHILE UNDER SUPERVISION,
THE DEFENDANT SHALL NOT CONSUME ALCOHOLIC BEVERAGES OR ANY
MOOD ALTERING SUBSTANCES, WHICH OVERRIDES THE “NO EXCESSIVE USE OF

Page 2 of 4

 
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PART 1: PETITION FOR WARRANT ~~

NAME PACTS JUDGE DOCKET #

SMITH, Donald O. 36263 David M. Lawson 17-CR-20103-01

 

 

 

 

 

ALCOHOL” LANGUAGE IN STANDARD CONDITION #7. THE DEFENDANT SHALL
NOT BE ALLOWED TO WORK AT A TAVERN OR TO PATRONIZE TAVERNS OR ANY
ESTABLISHMENTS WHERE ALCOHOL IS THE PRINCIPAL ITEM OF SALE. THE
DEFENDANT SHALL PAY ALL OR PART OF THE COSTS FOR PARTICIPATION IN
THE PROGRAM NOT TO EXCEED THE SLIDING FEE SCALE AS ESTABLISHED BY
THE DEPARTMENT OF HEALTH AND HUMAN SERVICES AND ADOPTED BY THIS
COURT.”

In October 2017, due to the offender’s use of marijuana and concerns for use of alcohol, SMITH
was referred for outpatient drug treatment and testing to Eastwood Clinic, Detroit, Michigan.
The therapist recommended bi-weekly individual counseling and Phase II urine testing.

On the following dates, SMITH submitted urine specimens which were returned “diluted” from
Alere Laboratories: October 31, 2017; November 16, 2017; and November 27, 2017.

SMITH did not attend any treatment sessions or report for random drug screen testing in
December 2017. He was terminated from treatment in January 2018 for failing to schedule
appointments or contact the therapist.

4 Violation _of Mandatory Condition: “YOU SHALL NOT COMMIT ANOTHER
FEDERAL, STATE, OR LOCAL CRIME.”

On January 4, 2019, SMITH was charged by the state of Indiana with one count of Domestic
Battery on a Person Less Than 14 Years old. On April 22, 2019, SMITH pled guilty to the
charge before the Honorable Samuel Keirns, Allen County Superior Court, Fort Wayne,
Indiana, Case Number 02D04-1901-F6-14. On May 7, 2019, Judge Keirns sentenced SMITH

to two years to the Indiana Department of Corrections with jail credit of 82 days and 1 year 182
days suspended. The sentence was ordered to be served consecutive to 02D04-1902-F6-182.

5 Violation of Mandatory Condition: “YOU SHALL NOT COMMIT ANOTHER
FEDERAL, STATE, OR LOCAL CRIME.”

On February 14, 2019, SMITH was charged with Count 1: Resisting Law Enforcement,
defendant uses a vehicle to commit the offense; and Count 2: Driving While Suspended. On
April 22, 2019, SMITH pled guilty to Count 1 and Count 2 was dismissed by the Honorable
Samuel Keirns, Allen County Superior Court, Case Number 02D04-1902-F6-182. On May 7,

2019, Judge Keirns sentenced SMITH to two years and 183 days to the Indiana Department of
Corrections with 1 year and 183 days suspended. The sentence was ordered to be served

consecutive to Case Number 02D04-1901-F6-14.

SMITH is currently incarcerated at the Allen County Jail in Indiana. He is scheduled to be
released on November 16, 2019.

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PART 1: PETITION FOR WARRANT ~~

NAME PACTS JUDGE DOCKET #

SMITH, Donald O. 36263 David M. Lawson 17-CR-20103-01

     
 
 

 

 

I declare under penalty of perjury that the foregoing is true and correct. DISTRIBUTION

SUPERVISING PROBATION OFFICER

s/Ann R. Smith/cj
313-234-5461

Court

 

 

ASST. DEPUTY CHIEF PROBATION OFFICER PROBATION ROUTING

s/Michelle D. Livingston
313-234-5579

Data Entry

THE COURT ORDERS:

iy The above charges as an amendment to the warrant petition issued on January 30, 2018, and direct the Office
of the U.S. Attorney to issue a writ of habeas corpus ad prosequendum

[ ] Maintain detainer until custodial sentence has been satisfied.

[ ] Other

 

 

 

 

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